                                   Case 21-15462-LMI                Doc 1        Filed 06/02/21            Page 1 of 15


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Mattress One, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Mattress 1 One
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  c/o Drew M. Dillworth, Receiver
                                  150 West Flagler Street, Suite 2200
                                  Miami, FL 33130
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                      Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    Mattress One, Inc.                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                        Chapter 9
     A debtor who is a “small           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                            The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     SOS Furniture Company, Inc.                                  Relationship             Affiliate
                                                            Southern District of
                                                 District   Florida                       When    6/02/21                Case number, if known    21-15459

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Debtor   Mattress One, Inc.                                                        Case number (if known)
         Name




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Debtor   Mattress One, Inc.                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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Debtor    Mattress One, Inc.                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 2, 2021
                                                  MM / DD / YYYY


                             X   /s/ Drew M. Dillworth                                                    Drew M. Dillworth
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Receiver




18. Signature of attorney    X   /s/ ERIC J. SILVER                                                        Date June 2, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 ERIC J. SILVER 057262
                                 Printed name

                                 Stearns Weaver Miller Weissler Alhadeff & Sitterson, P.A.
                                 Firm name

                                 Museum Tower, Suite 2200
                                 150 West Flagler Street
                                 Miami, FL 33130
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     305.789.3200                  Email address      esilver@stearnsweaver.com

                                 057262 FL
                                 Bar number and State




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         IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL
         CIRCUIT IN AND FOR MIAMI-DADE COUNTY, FLORIDA

         CASE NO: 2020-022321-CA-01
         SECTION: CA05
         JUDGE: Samantha Ruiz Cohen

         Tempur-Pedic North America LLC et al
         Plaintiff(s)

         vs.

         SOS Furniture CO Inc et al
         Defendant(s)
         ____________________________/

           POST JUDGMENT ORDER APPOINTING RECEIVER PURSUANT TO FLORIDA
                            STATUTES §56.29 AND/OR §56.10


                  THIS CAUSE, having come before the Court on February 16, 2021, on the Judgment

         Creditors’, Tempurpedic North America, LLC, Sealy Mattress Manufacturing Co., LLC and

         Comfort Revolution, LLC, Post Judgment Verified Motion for Appointment of Receiver, and the

         Court having reviewed the Motion, hearing argument of counsel for the respective parties, and

         being otherwise fully advised in these Post Judgment proceeding, the Court finds that:


               1. The Judgment Creditors hold an unsatisfied final judgment and writs of execution

                 in this matter against the Judgment Debtors, SOS Furniture Co., Inc. and Mattress

                 One, Inc. (the “Judgment Debtors”).

               2. That this is a post-judgment Receivership authorized pursuant to Florida Statutes

                 §§ 56.10 and 56.29(9). See Warshall v. Price 617 So 2d 751 (Fla 4th DCA 1993).

                   Accordingly, it is ORDERED and ADJUDGED that:


               1. The Judgment Creditors’ verified motion for Appointment of Receiver be and same

                 is hereby Granted.



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         2. Appointment. Drew Dillworth is hereby appointed as Receiver (the "Receiver") in

           this matter, and shall immediately take control of the Judgment Debtors (the

           “Business”).

         3. Oath. Within ninety (90) days of the date of this Order, the Receiver shall file with

           this Court an Oath of Receiver.

         4. Bond. The Receiver shall not be required to post a Bond in this post judgment

           receivership.

         5. Inventory. The Receiver shall prepare and file in the Court on or before ninety (90)

           days from the date he takes possession of the Business, a full and detailed

           inventory, under oath, of all the real and personal property, assets, and effects of

           every nature involved in the Business of which he is hereby given custody.

         6. Power of Receiver. The Receiver shall have the power and authority to preserve

           and protect the property, including the power and authority to:


              A. Take all steps necessary to preserve the assets of the Business.

              B. The Receiver may collect all receivables, issues, income, deposits, receipts,

                 revenues, management fees, membership fees, subscriber fees, royalties,

                 and profits due to the Business.

              C. The Receiver may draw, accept, make, execute, endorse, discount or

                 otherwise deal with checks, promissory notes, letters of credit, credit cards,

                 wire transfers, electronic funds transfers, bills of exchange, mortgages, and

                 other securities for the payment of money.

              D. The Receiver shall pay all local, state, and federal taxes and assessments

                 that arise after his taking of control of the Business

              E. The Receiver may sue and defend in his own name as Receiver of the

                 property in all Courts of this State and employ professionals for assistance.

                 The power to sue shall include prosecuting any claims belonging to the


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                 Judgment Debtors and any creditors of the Judgment Debtors including, but

                 not limited to, claims for (1) breach of fiduciary duty, (2) aiding and abetting

                 breach of fiduciary duty, (3) malfeasance, (4) misfeasance, (5) conversion,

                 (6) negligence, (7) malpractice, and (8) invalidation and/or recovery of any

                 conveyances. In addition, the Receiver is specifically authorized,

                 empowered, and has standing to bring Ancillary Proceedings (defined below)

                 as follows: (i) any action to recover money or other assets of the Judgment

                 Debtors including (1) - (8) above; (ii) any action to determine the validity,

                 priority, or extent of a lien or other interest in property or to subordinate or

                 avoid an unperfected security interest; (iii) any action to pursue claims and/or

                 causes of action on behalf of the Judgment Debtors and/or any creditor of

                 the Judgment Debtors, including but not limited to negligence, fraud, breach

                 of fiduciary duty, or violation of Florida and/or other state and/or federal

                 statutes; (iv) any action to avoid and/or recover any conveyance or transfer

                 void or voidable by applicable law; and, (v) any other action or actions as

                 may be authorized or directed by further Order of this Court. An Ancillary

                 Proceeding is an action of the type designated in paragraphs (i), (ii), (iii), (iv)

                 and (v) above and shall be brought as follows: (a) The Florida Rules of Civil

                 Procedure shall apply to the ancillary proceedings, except where

                 inconsistent with the provisions of this order; (b) The Clerk of the Court shall

                 docket an ancillary proceeding under this matter' s case number, and a

                 separate ancillary proceeding number, and shall assign such ancillary

                 proceeding to this Court's division; and (c) All pleadings and other papers

                 filed in an ancillary proceeding shall contain a separate sub-caption and the

                 supplemental proceeding number in addition to the caption and the case

                 number applicable to the main case. The Receiver: (a) is not prohibited and

                 shall not be barred from from filing any action or bringing any ancillary


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                 proceeding due to the doctrine in pari delicto and (b) may elect to substitute

                 itself as Plaintiff for the Internal Revenue Service (the "IRS") and (c)

                 otherwise avail itself of the IRS' ten-year statute oflimitations with regard to

                 fraudulent transfers, per Section 6502(a)(l) of the Internal Revenue Code,

                 without further order of this Court.

              F. The Receiver shall be given full access to the assets, files, papers records,

                 documents, monies, securities, choses in action, books of account, and all

                 other property, tangible or intangible, real or personal, or mixed, of the

                 property, which relate to the Receivership and the Business (the

                 “Receivership Business).

              G. The Judgment Debtors, their principals, shareholders, agents, attorneys,

                 accountants or employees, and all persons, partnerships or corporations

                 now or hereafter in possession of the Receivership Business, or any part

                 thereof, shall forthwith allow the Receiver to have access to the above

                 records and documents upon reasonable notice and during business hours.

              H. The Receiver controls the attorney-client privilege of the Judgment Debtors

                 and may, at his sole discretion, waive the privilege. See Commodity Futures

                 Trading Commission v. Weintraub, 471 U.S. 343, 358 (1985).

              I. The Receiver is authorized to set depositions and demand production of

                documents on three (3) business days’ notice. Any objection to documents

                requested by the Receiver may be stated at the deposition and reserved for

                hearing.

              J. The Receiver shall manage, preserve, protect, and maintain the

                 Receivership Business in a reasonable, prudent, diligent and efficient

                 manner in accordance with all laws and contractual obligations and shall be

                 solely authorized, should he deem in his business judgment, to place the

                 Judgment Debtors into bankruptcy or an assignment for the benefit of


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                 creditors to allow for the orderly liquidation of the Judgment Debtors’ assets.

                 Without limitation upon that general duty, the Receiver shall have the

                 following specific duties: Operating Account. Effective immediately upon

                 entry of this Order, the Receiver shall establish and maintain, at a National

                 Bank Association, whose deposits are insured by Federal Deposit Insurance

                 Corporation, one or more separate operating accounts (the "Operating

                 Accounts") into which the Receiver shall deposit all receipts from the

                 Receivership Business, and from which the Receiver shall disburse regularly

                 and punctually, all amounts due and payable as reasonable, necessary and

                 proper operating expenses of the Receivership Business, upon and after

                 Court approval or upon the written mutual stipulation of the Plaintiff and the

                 Judgment Debtors. Records. Receiver shall maintain a comprehensive

                 system of office records, books, and accounts concerning the operation of

                 the Receivership Business. Upon reasonable notice, and at all reasonable

                 times, the Judgment Debtors, and their respective principals, shareholders,

                 agents, attorneys and other representatives shall have reasonable access to

                 such records, accounts and books and to all vouchers, files, and all other

                 material pertaining to the operation of the Receivership Business, all of which

                 the Receiver agrees to keep safe, available and separate from any records

                 not having to do with the operation of the Receivership Business.Legal

                 Requirements. The Receiver shall ensure that all aspect of the Receivership

                 Business, and its operation and management, comply with any and all laws,

                 regulations, orders or requirements affecting the Receivership Business and

                 the Property issued by any federal, state, county or municipal authority

                 having jurisdiction there over.No Waste. The Receiver shall not suffer, cause

                 or permit: (I) any removal of any real or personal property owned or leased

                 by the Receivership Business; or (ii) any waste of the Receivership Business


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                 or any of the components thereof.Access The Receiver shall have complete

                 access to the property, books, records, documents and papers of the

                 including without limitation, all cash receipts and disbursement journals, all

                 bank accounts, all securities, papers and accounts and records relating

                 thereto including, without limitation, login and password credentials for all

                 electronic accounts with all financial institutions, electronic accounts with all

                 bookkeeping and accounting software, electronic accounts with document

                 management systems or servers, and electronic accounts for mail. Receiver

                 shall further have complete access to all books and records relating to the

                 receivables and assets to be turned over to the Receiver in the possession of

                 any party hereto. The Receiver shall have authority to conduct the

                 accounting of the Judgment Debtors’ assets and otherwise inquire into all

                 receivables, collections and other assets of the Judgment Debtors as

                 deemed necessary by the Receiver.The Receiver may apply to this Court for

                 such powers as are needed to ensure the preservation and completion of the

                 Receivership Business and to ensure the maximum value is obtained

                 therefor from time to time as the Court may determine, the Receiver shall be

                 entitled to reasonable compensation from the assets now held by or in the

                 possession or control of or which may be received by the Receivership

                 Business the amounts commensurate with his duties and obligations under

                 the circumstances.


         7. Cooperation. The parties hereto, their principals, agents, employees, directors,

           members, managers, and shareholders who receive notice of this Order are

           hereby ordered to make available to the Receiver immediately, all original records

           and documents of whatever description in the possession or under the control of

           each that in any way relate to the business affairs and assets of the Businesses.


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           Sole power to act on behalf of the Judgment Debtors is hereby vested in the

           Receiver and, the Judgment Debtors, their principals, agents, servants,

           employees, representatives, officers, directors, partners, members, owners,

           stockholders and attorneys are hereby enjoined from acting or purporting to act on

           behalf of the Business, in any manner whatsoever, without first obtaining consent

           of the Receiver. Any acts taken in violation of this paragraph or this Order are

           hereby deemed null and void and shall be of no further force or effect.

         8. Monthly Reports. The Receiver is directed to prepare, on or before the twentieth

           (20th) day of each month, commencing 60 days after date of this Order, so long as

           the Receivership Business and its property shall remain in his possession or care,

           a full and complete report, under oath, setting forth all receipts and disbursements,

           cash flow, and reporting all changes in the assets in his charge, or claims against

           the assets, that have occurred during the period covered by the report. The

           Receiver is directed to serve a copy of each report on each of the attorneys of

           record for the parties herein or the party if not represented.

         9. Status to the Court. No later than 180 days from the implementation of this

           Order, and continuing at least every 180 days from the date of this Receivership,

           the Receiver shall appear before the Court and provide a brief Receivership status

           update.

         10. Fees. The Receiver shall be entitled to payment of fees for his services at his

            standard hourly rate or such other rate as is authorized and approved by the

            Court. The Receiver shall, in his discretion, prepare a monthly bill for his services

            which shall be delivered to counsel of record and the party if unrepresented. The

            Receiver shall, in his discretion, pay 70% of his monthly bill upon receipt.

            Counsel of record shall have 10 days upon receipt of Receiver’s bill to object to

            said bill. If no objection is given by counsel of record, the remaining 30% of the

            Receiver’s bill shall be paid. If there is an objection, the remaining 30% shall not


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            be paid until approved by the Court. In the event the income derived from the

            Businesses is insufficient to pay the Receiver or his professionals, he/she is

            authorized to apply for a certificate of indebtedness which shall constitute a

            priority claim on the property of the Judgment Debtors.

         11. Judicial Immunity. The Receiver shall have judicial immunity to the extent he

            complies with this Order and all subsequent orders of this Court.

         12. No Interference. Except as otherwise requested or authorized by the Receiver,

            the Judgment Debtors, their principals, agents, members, shareholders,

            managers, servants, employees, representative, and attorneys, and any other

            parties that receive actual notice of this Order, are hereby enjoined from

            collecting, or attempting to collect, the tangible and intangible personal property,

            the assets, the rents, receivables, income, revenues, profits and bank accounts of

            the Receivership Business and from interfering in any manner with the

            management of the Receivership Business and its Property by the Receiver as

            hereinabove described until further order of this Court.

         13. Payments. This is a post judgment receivership. Therefore, the primary fiduciary

            duty of the Receiver is to make payment to the judgment creditor in the above-

            captioned matter.

         14. Retention of Professionals. The Court recognizes that it may be necessary to

            engage the services of professionals in order for the Receiver to faithfully

            discharge his duties hereunder. The Receiver is hereby empowered, in his

            discretion, to hire and employ legal counsel, accountants and consultants

            (“Outside Professionals”) including entities of which Receiver is a shareholder, to

            furnish legal, accounting and other advice to the Receiver for such purposes as

            may be reasonable and necessary during the period of the Receivership without

            further authorization from this Court. The Receiver is authorized to pay from the

            Businesses funds, eighty percent (80%) of the standard fees and one hundred


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            percent (100%) of the costs of such Outside Professionals upon receipt of a bill

            from the Outside Professional. The monthly twenty percent (20%) of fees

            withheld shall be subject to a final application to the Court for approval of all fees

            and expenses of such Outside Professional which shall include the twenty

            percent (20%) of fees withheld. Consistent with this paragraph, Outside

            Professionals shall make quarterly fee applications to the Court with a final fee

            application to the Court at the conclusion of the case (for the avoidance of doubt,

            quarterly fee applications are only necessary in the event any Outside

            Professionals bill the Receiver and the Receiver pays such Outside Professional

            in any given period). In addition to the foregoing, said Outside Professionals shall

            also be entitled to an enhancement based upon results achieved, subject to Court

            approval.

         15. Jurisdiction. The Court shall retain jurisdiction of this matter for all purposes.
      DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 22nd day of
      February, 2021.




                                                          2020-022321-CA-01 02-22-2021 7:54 PM
                                                             Hon. Samantha Ruiz Cohen

                                                              CIRCUIT COURT JUDGE
                                                              Electronically Signed



        No Further Judicial Action Required on THIS MOTION

        CLERK TO RECLOSE CASE IF POST JUDGMENT



      Electronically Served:
      David C. Cimo, dcimo@cmmlawgroup.com
      David C. Cimo, ekelly@cmmlawgroup.com
      Drew Dillworth, DDillworth@stearnsweaver.com


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      Eric Silver, esilver@stearnsweaver.com
      Luis Frank Navarro, fcm@nmbesq.com
      Marilee A. Mark, mmark@cmmlawgroup.com
      Roniel Rodriguez IV, Ron@RJRfirm.com
      Roniel Rodriguez IV, Ron@RJR.Company
      Roniel Rodriguez IV, Ron@RJR.Partners


      Physically Served:




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